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                   IN THE FEDERAL DISTRICT COURT
             NORTHERN DISTRICT OF OHIO | EASTERN DIVISION

TONYA BEY                           )      CASE NO.:
27701 Mills Avenue, Apt. M          )
Euclid, Ohio 44132,                 )      JUDGE:
                                    )
and                                 )      TYPE:PERSONAL INJURY
                                    )
RAISHEENA BEY                       )
27701 Mills Avenue, Apt. M          )      COMPLAINT
Euclid, Ohio 44132,                 )
                                    )      (Jury Demand Endorsed Hereon)
and                                 )
RAISHAUNA BEY                       )
27701 Mills Avenue, Apt. M          )
Euclid, Ohio 44132                  )
                                    )
        Plaintiffs,                 )
                                    )
v.                                  )
                                    )
UNITED STATES OF AMERICA            )
Carol M. Skutnick                   )
UNITED STATES ATTORNEY              )
THE NORTHERN DISTRICT OF OHIO )
OFFICE OF THE UNITED STATES         )
ATTORNEY                            )
United States Courthouse            )
801 West Superior Avenue, Suite 400 )
Cleveland, Ohio 44113-1852          )
                                    )
And                                 )
                                    )
UNITED STATES POSTAL SERVICE        )
2400 Orange Avenue,                 )
Cleveland, Ohio 44101               )
                                    )
And                                 )
                                    )
LAKESHIA R. ALLISON                 )
1042 East 176th Street              )
Cleveland, Ohio 44119               )
                                    )
                                    )
        Defendants.
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       Now come Plaintiffs, Tonya Bey, Raisheena Bey, and Raishauna Bey, by and through their

duly authorized attorneys, and for their complaint against Defendants the United States of America

and the United States Postal Service and Lakeshia R. Allison, state the following:

                           JURISDICTION, VENUE AND PARTIES

       1.       This Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C.

1331 in that this action arises under the laws of the United States of America and is premised on

the acts and omissions of the Defendant United States of America and United States Postal Service

acting under color of federal law. This Court further has subject matter jurisdiction over this matter

pursuant to 28 U.S.C. 1346(b) in that this is a claim against the Defendant United States of America

and United Postal Service for personal injury caused by the negligent and wrongful act and

omissions of a U.S. Postal Service employee while in the course and scope of her employment.

       2.       Jurisdiction founded upon the federal law is proper in that this action is premised

upon federal causes of action under the Federal Tort Claims Act, 28 U.S.C. 2671 et seq.

       3.       On August 12, 2024, Plaintiffs presented their claims to the United States Postal

Service through the appropriate federal agency for administrative settlement as required by 28

U.S.C. 2401(b). (A copy of the United States Postal Service letter, dated October 21, 2024,

acknowledging receipt is attached hereto as Exhibit “A”.) Furthermore, six months have expired

after the aforementioned presentation without resolution or denial of the presented claims.

       4.       This action is timely pursuant to and in compliance with 28 U.S.C 2401(b) in that

it was presented to the appropriate federal agency within two years of accrual and this action was

filed within six months after the expiration of six months following the aforementioned

presentation.

       5.       Venue is proper in this district pursuant to 28 U.S.C. 1391.
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       6.      Plaintiffs reside in the County of Cuyahoga and State of Ohio.

       7.      At all times mentioned herein, Plaintiff Tonya Bey was, is, the mother of Plaintiff

Raisheena Bey and Plaintiff Raishauna Bey.

       8.      The U.S Postal Service is an agency of the Defendant United States of America.

Alternatively, it is an independent establishment of the executive branch of the Government of the

United State subject to claims pursuant to the Federal Tort Claims Act or other law. At all times

pertinent, Lakeshia R. Allison was a Postal Service Employee acting within the course and scope

of her employment.

                                  FIRST CAUSE OF ACTION

       9.      All the statements and allegations contained in paragraphs 1 through 8 of the

Plaintiffs’ complaint are reaverred and realleged as if fully rewritten herein.

       10.     At all times mentioned herein, Plaintiff Tonya Bey was the owner and operator of

a Ford automobile.

       11.     At all times mentioned herein, Plaintiff Raisheena Bey and Plaintiff Raishauna Bey

were passengers in the Ford automobile owned and operated by Plaintiff Tonya Bey.

       12.     At all times mentioned herein, Lakeshia R. Allison was operating a vehicle owned

by the United States Postal Service and upon information and belief, was in the course and scope

of her employment with the United States Postal Service and/or United States of America.

       13.     On or about December 16, 2023, Plaintiff Tonya Bey was operating her Ford

automobile on Lakeshore Blvd., a duly dedicated public street and/or highway in the City of

Euclid, County of Cuyahoga, and State of Ohio.

       14.     At the above-mentioned time and place, Lakeshia Allison carelessly and

negligently operated the above-mentioned vehicle, said negligence including, but not limited to,
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failing to yield the right of way to the automobile operated by Plaintiff Tonya Bey, and crashed

into the automobile operated by Plaintiff Tonya Bey, and in which Plaintiff Raisheena Bey and

Plaintiff Raishauna Bey were riding, causing Plaintiff Tonya Bey to sustain injuries and damages.

        15.     The negligence of Lakeshia Allison, in addition to that herein above alleged,

consisted of (a) failing to obey the rules of the road requiring her to yield to traffic; (b) failing to

keep a proper lookout in the light of traffic conditions then and there existing; and (c) failing to

control the automobile that she was operating.

        16.     The aforementioned collision was in no manner attributable to any fault or lack of

care on the part of Plaintiff Tonya Bey, who at all times pertinent hereto was in the exercise of due

care.

        17.     As a direct and proximate result of the carelessness and negligence of Lakeshia

Allison, Plaintiff Tonya Bey suffered, and will continue to suffer painful, severe, and permanent

injuries of the mind and body, pain and suffering and loss of enjoyment of life.

        18.     As a further direct and proximate result of the carelessness and negligence of

Lakeshia Allison, Plaintiff Tonya Bey incurred, and will continue to incur, expenses for medical

attention and treatment, lost earnings, loss of earning capacity as well as property damage to her

vehicle and the cost to repair same and/or the diminution of value of said vehicle, as well as

damages for loss of use of the vehicle.

        Wherefore, Plaintiff Tonya Bey demands judgement as set forth below.

                                 SECOND CAUSE OF ACTION

        19.     All the statements and allegations contained in paragraphs 1 through 18 of the

Plaintiffs’ complaint are reaverred and realleged as if fully rewritten herein.

        20.     As a direct and proximate result of the carelessness and negligence of Lakeshia
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Allison, Plaintiff Raisheena Bey suffered, and will continue to suffer, painful, severe, and

permanent injuries of the mind and body, pain and suffering and loss of enjoyment of life.

       21.As a further direct and proximate result of the carelessness and negligence of Lakeshia

Allison, Plaintiff Raisheena Bey incurred, and will continue to incur, expenses for medical

attention and treatment, lost earnings, and loss of earning capacity.

       Wherefore, Plaintiff Raisheena Bey demands judgement as set forth below.

                                  THIRD CAUSE OF ACTION

       22.     All the statements and allegations contained in paragraphs 1 through 21 of the

Plaintiffs’ complaint are reaverred and realleged as if fully rewritten herein.

       23.     As a direct and proximate result of the carelessness and negligence of Lakeshia

Allison, Plaintiff Raishauna Bey suffered, and will continue to suffer, painful, severe, and

permanent injuries of the mind and body, pain and suffering and loss of enjoyment of life.

       24.     As a further direct and proximate result of the carelessness and negligence of

Lakeshia Allison, Plaintiff Raishauna Bey incurred, and will continue to incur, expenses for

medical attention and treatment, lost earnings, and loss of earning capacity.

       Wherefore, Plaintiff Raishauna Bey demands judgement as set forth below.

       WHEREFORE, Plaintiffs Tonya Bey, Raisheena Bey and Raishauna Bey, demand

judgment against Defendants United States of America and the United States Postal Service and

Lakeshia R. Allison, individually and/or jointly and/or severally, as follows:

         As and for the First Claim, compensatory damages in an amount fifty thousand dollars
($50,000.00) for Plaintiff Tonya Bey, attorney’s fees, interest, costs of this action, and any other
relief this Honorable Court deems equitable and just; and

        As and for the Second Claim, compensatory damages in an amount in an amount of fifty
thousand dollars ($50,000.00) for Plaintiff Raisheena Bey, attorney’s fees, interest, costs of this
action, and any other relief this Honorable Court deems equitable and just; and
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        As and for the Third Claim, compensatory damages in an amount in an amount of fifty
thousand dollars ($50,000.00) for Plaintiff Raishauna Bey, attorney’s fees, interest, costs of this
action, and any other relief this Honorable Court deems equitable and just.



                                                     Respectfully submitted,



                                                     __/s/ John W. Burnett_______________
                                                     John W. Burnett, Esq. (#0039140)
                                                     THE SKOLNICK WEISER LAW FIRM
                                                     600 Superior Ave. East, Ste. 2505
                                                     Cleveland, Ohio 44114
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                                                     john@skolnicklaw.com
                                                     Counsel for Plaintiffs
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                                JURY DEMAND

Plaintiffs hereby request a trial by the maximum number of jurors in the within action.

                                              _/s/ John W. Burnett_____________
                                             John W. Burnett, Esq. (0039140)
                                             THE SKOLNICK WEISER LAW FIRM
